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       June 22, 2021

       BY ECF
       Honorable Brian M. Cogan
       United States District Judge for the
        Eastern District of New York
       225 Cadman Plaza East
       Brooklyn, New York, 11201

       Re: United States v. Colinford Mattis, 20 Cr. 00403 (BMC)

       Your Honor:

               With consent of the government I write to request an adjournment of the July 1, 2021 status
       conference in this case. The parties continue to discuss a possible disposition in this case, and ask
       the status conference be adjourned to July 16, 2021.

               To that end, we request that the time between July 1, 2021 and the next date set by the
       Court, be excluded under the Speedy Trial Act, pursuant to Title 18, United States Code, section
       3161(h)(8)(A). Excluding time will best serve the ends of justice and outweigh the best interests
       of the public and the defendant in a speedy trial, because it will allow the government and defense
       counsel to continue discussions regarding a possible disposition in the matter.

              We thank the Court for its time and consideration of this request.

                                              Respectfully submitted,

                                              /s/Sabrina P. Shroff
                                              Counsel to Colin Mattis


       cc: all counsel




                                                             Respectfully submitted,

                                                             /s/Sabrina P. Shroff
                                                             Attorney for Colinford Mattis
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Honorable Paul G. Gardephe
April 15, 2020
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cc:   All counsel (by ECF) & pretrial by email
